256 F.2d 751
    Raymond KOENIG, Appellant,v.B. J. RHAY, Superintendent, Washington State Penitentiary,Walla Walla, Washington, Appellee.
    No. 15703.
    United States Court of Appeals Ninth Circuit.
    Aug. 5, 1958.
    
      John A. Gose, Walla Walla, Wash., for appellant.
      John J. O'Connell, Atty. Gen., for appellee.
      Before MATHEWS, FEE and BARNES, Circuit Judges.
      PER CURIAM.
    
    
      1
      This appeal is from an order denying an application of appellant for a writ of habeas corpus.  The order is affirmed.
    
    